            Gov. Ex. #       Bates #                               Description

               255           26355          Ballistic Comparison Photos

               256           26352          Prince George County Firearm Examination Unit NIBIN
                                            report
               257           26354          NIBIN report worksheet

               258           11458          FBI Receipt for Property from MD Capital Park Police,
                                            8/7/2018
               259           11465          Firearms Trace Summary re .40 cal S&W handgun, SN
                                            FYH4828
               260         PHYS. EVID.      FBI Item 1B10:(U) LG Flip Tracphone cell phone (250‐
                                            7232); device no: 01459800010668905 (Item 12)

               261         PHYS. EVID.      FBI Item 1B89: Smith & Wesson SD40VE .40 Caliber
                                            Handgun Serial #: FYH4828 with empty magazine.
               262         PHYS. EVID.      FBI 1B90: (U) Plastic bag containing quantity (12) .40
                                            caliber rounds of ammunition.
               263         20720‐20740      DPD Incident 16‐006954, aggravated assualt on
                                            Colquhoun St., Danville, 8/24/2016
               264        IMG_7340.JPG      PHOTO: Convenience Store, corner of Jefferson St.

               265        IMG_7342.JPG      PHOTO: distant view of rear of Nissan Sentra, broken
                                            rear window
               266        IMG_7345.JPG      PHOTO: Nissan Sentra, broken rear window from
                                            driver's side
               267        IMG_7346.JPG      PHOTO: Nissan Sentra, broken rear window from
                                            passenger side
               268        IMG_7347.JPG      PHOTO: distant view Nissan Sentra, broken rear
                                            window, evidence markers
               269        IMG_7349.JPG      PHOTO: driver's side Nissan Sentra, evidence markers

               270        IMG_7352.JPG      PHOTO: rear view Nissan Sentra, evidence markers 5‐11

               271        IMG_7353.JPG      PHOTO: Street, evidence marker 12

               272        IMG_7356.JPG      PHOTO: Front of red/white house, # 740

               273        IMG_7357.JPG      PHOTO: Side view of red/white house, side yard

               274        IMG_7358.JPG      PHOTO: Side of # 740


               275        IMG_7359.JPG      PHOTO: Bullet hole in the wall of # 740

               276        IMG_7362.JPG      PHOTO: distant view of front of Nissan Sentra, evidence
                                            markers
               277        IMG_7363.JPG      PHOTO: distant view of front of Nissan Sentra, evidence
                                            markers 20, 21, 22, 23
               278        IMG_7364.JPG      PHOTO: distant view of front of Nissan Sentra, evidence
                                            markers 19, 20, 21



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